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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------X
                                                          :                          11/5/2020
WRIST USE (HOUSTON) INC.,                                 :
                                                          :
                                         Plaintiff,       :
                                                          :              20-CV-5611 (VSB)
                           -against-                      :
                                                          :                  ORDER
C.H. ROBINSON INTERNATIONAL, INC., :
et al.,                                                   :
                                                          :
                                         Defendant. :
                                                          :
--------------------------------------------------------- X

VERNON S. BRODERICK, United States District Judge:

         Plaintiff filed this action on July 20, 2020. (Doc. 1.) Defendants waived service on

August 13, 2020, and their answers were due on September 28, 2020. (Docs. 8, 9). To date,

Defendants have not responded to the complaint. Plaintiff, however, has taken no action to

prosecute this case. Accordingly, if Plaintiff intends to seek a default judgment it is directed to

do so in accordance with Rule 4(H) of my Individual Rules and Practices in Civil Cases by no

later than November 20, 2020. If Plaintiff fails to do so or otherwise demonstrate that it intends

to prosecute this litigation, I may dismiss this case for failure to prosecute pursuant to Federal

Rule of Civil Procedure 41(b).

SO ORDERED.

Dated:       November 5, 2020
             New York, New York                               ________________________________
                                                              VERNON S. BRODERICK
                                                              United States District Judge
